                                           1   Robert A. Julian (SBN 99469)
                                               Cecily A. Dumas (SBN 111449)
                                           2   BAKER & HOSTETLER LLP
                                               1160 Battery Street, Suite 100
                                           3   San Francisco, CA 94111
                                               Telephone: 628.208.6434
                                           4   Facsimile:     310.820.8859
                                               Email: rjulian@bakerlaw.com
                                           5   Email: cdumas@bakerlaw.com
                                           6   Eric E. Sagerman (SBN 155496)
                                               Lauren T. Attard (SBN 320898)
                                           7   BAKER & HOSTETLER LLP
                                               11601 Wilshire Blvd., Suite 1400
                                           8   Los Angeles, CA 90025-0509
                                               Telephone: 310.442.8875
                                           9   Facsimile: 310.820.8859
                                               Email: esagerman@bakerlaw.com
                                          10   Email: lattard@bakerlaw.com
                                          11   Proposed Counsel for Official
                                               Committee of Tort Claimants
B AKER & H OSTE TLER LLP




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   A TTORNEYS AT L AW
                           LOS ANGELES




                                          13                        IN THE UNITED STATES BANKRUPTCY COURT

                                          14                            NORTHERN DISTRICT OF CALIFORNIA

                                          15                                    SAN FRANCISCO DIVISION

                                          16   In re:                                              Bankruptcy Case
                                                                                                   Case No.: 19-30088 (DM)
                                          17   PG&E CORPORATION                                    Chapter 11
                                                                                                   (Lead Case)
                                          18            – and –                                    (Jointly Administered)
                                          19   PACIFIC GAS AND ELECTRIC                            NOTICE OF HEARING ON
                                               COMPANY,                                            APPLICATION OF THE OFFICIAL
                                          20                                                       COMMITTEE OF TORT
                                                                        Debtors.                   CLAIMANTS PURSUANT TO 11
                                          21                                                       U.S.C. § 1103 AND FED. R. BANKR. P.
                                                                                                   2014 AND 5002, FOR AN ORDER
                                          22   □ Affects PG&E Corporation                          AUTHORIZING RETENTION AND
                                                                                                   EMPLOYMENT OF BAKER &
                                          23   □ Affects Pacific Gas and Electric Company          HOSTETLER LLP, EFFECTIVE AS
                                                                                                   OF FEBRUARY 15, 2019
                                          24   ■ Affects both Debtors
                                                                                                   Date:      Tuesday, April 9, 2019
                                          25   * All papers shall be filed in the Lead Case,       Time:      9:30 a.m. (Pacific Time)
                                               No. 19-30088 (DM)                                   Place:     United States Bankruptcy
                                          26                                                                  Court
                                                                                                              Courtroom 17, 16th Floor
                                          27                                                                  San Francisco, CA 94102
                                                                                                   Objection Deadline: April 1, 2019
                                          28                                                                           4 p.m. (Pacific Time)


                                         Case: 19-30088     Doc# 937      Filed: 03/18/19      Entered: 03/18/19 00:22:37    Page 1 of 2
                                           1          PLEASE TAKE NOTICE that on March 17, 2019, the Official Committee of Tort
                                           2   Claimants (the “Committee”), in the above-captioned chapter 11 cases of PG&E Corporation and
                                           3   Pacific Gas and Electric Company filed a Motion seeking the entry of an order authorizing the
                                           4   retention and employment of Baker & Hostetler LLP as counsel to the Official Committee of Tort
                                           5   Claimants effective as of February 15, 2019 pursuant to 11 U.S.C. § 1103 and Fed. R. Bankr. P.
                                           6   2014 and 5002, and other related relief as the Court may deem appropriate.
                                           7          PLEASE TAKE FURTHER NOTICE that any objection to the requested relief, or a
                                           8   request for hearing on the matter, must be filed and served upon the initiating party by 4:00 p.m.
                                           9   (Pacific Time) on April 1, 2019; any objection or request for a hearing must be accompanied by
                                          10   any declarations or memoranda of law any requesting party wishes to present in support of its
                                          11   position; if there is no timely objection to the requested relief or a request for hearing, the court
B AKER & H OSTE TLER LLP




                                          12   may enter an order granting the relief by default.
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                           LOS ANGELES




                                          13          PLEASE TAKE FURTHER NOTICE that in the event of a timely objection or request
                                          14   for hearing, the tentative hearing date, location and time are Tuesday, April 9, 2019, at 9:30 a.m.
                                          15   (Pacific Time), at the United States Bankruptcy Court, Courtroom 17, 16 th Floor, San Francisco,
                                          16   CA 94102.
                                          17

                                          18    Dated: March 17, 2019
                                          19

                                          20                                               BAKER & HOSTETLER LLP

                                          21
                                                                                           By:      /s/ Cecily A. Dumas
                                          22                                                        Cecily A. Dumas

                                          23                                               Proposed Attorneys for Official Committee of Tort
                                                                                           Claimants
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